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                                     NOTICE OF APPEAL

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

  DR. DANIEL HALLER and LONG ISLAND
  SURGICAL PLLC,

  Plaintiffs,
                                                       NOTICE OF APPEAL
                  v.
                                                       No. 21-cv-7208-AMD
  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES et al.,

  Defendants




         Notice is hereby given that DR. DANIEL HALLER and LONG ISLAND SURGICAL

 PLLC, hereby appeal to the United States Court of Appeals for the Second Circuit from the

 Decision and Order of the Honorable Ann M. Donnelly, denying plaintiffs’ motion for a

 temporary restraining order and injunction, and granting defendants’ motion to dismiss all causes

 of action, including the seventh amendment claim, fifth amendment takings claim and due

 process claim, deprivation of common law claims, and claims the Regulations exceeding

 authority by the Act, and entered as a judgment on August 11, 2022.

 Dated: October 31, 2022


                                                  Respectfully Submitted

                                                   /S/ Nick Wilder, Esq.
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